            Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 1 of 22
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
 IN THE MATTER OF THE SEARCH                           CASE NO.             !Cf - !0~ 0 -04<r
 OF
                                                       RELATED CASES :
 INFORMATION CONTAINED IN OR
 ASSOCIATED WITH THE ACCOUNT OF                        JKB-19-0271
 INSTAGRAM USER "11ife 2finesse".                      19-1631-SAG to
                                                       19-1633-SAG;
                                                       19-0559-JMC;
                                                       19-0904-ADC.



                     AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

       I, Special Agent Brendan Plasha, being duly sworn, depose and state that:

                                PURPOSE OF THE AFFIDAVIT

       1.      This affidavit is made in support of an application for a search warrant under

18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(l)(A) to require Instagram to disclose to the

government records and other information in its possession, pertaining to the subscriber or customer

operating the account associated with Instagram user identification: "llife_2finesse", located at

https://www.instagram.com/llife 2finesse/ and believed to have been used by or associated with

Kelvin McFadden that is stored at premises owned, maintained, controlled, or operated by

Instagram, LLC ("Instagram"), a social networking company headquartered at 151 University

Avenue, Palo Alto, California 94301. The information to be searched and seized is described in the

following paragraphs and in Attachments A and B.

       The United States has probable cause to believe that the sought after records and other

information associated with the Instagram account will provide evidence of violations of 18 U.S.C.

§1951(a)) (Affecting Interstate Commerce by Robbery).

                                         JURISDICTION

       2.      This Court has jurisdiction to issue the requested warrants because it is "a court of

competent jurisdiction" as defined in 18 U.S.C. § 2711. See 18 U.S.C.
                                                  1
             Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 2 of 22
                                                                                                    DAL


§ 2703(c)(1 )(A). Specifically, the Court is "a district court of the United States (including a

magistrate judge of such court) ... that--has jurisdiction over the offense being investigated." 18

U.S.C. § 2711(3)(A)(i).

                                      AGENT BACKGROUND

        3.      I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and Explosives

("ATF"), and have been since 2015. I am currently assigned to the ATF Baltimore Field Division,

Baltimore Field Office. I attended the United States Department of Homeland Security' s Criminal

Investigator Training Program and ATF's Special Agent Basic Training, both located in Glynco,

Georgia, for a combined period of twenty-six weeks. I have received extensive training, both

formal and on-the-job, in the provisions of the Federal Firearms Laws and Federal Narcotics Laws

administered under Title 18, Title 21, and Title 26 of the United States Code. As an ATF agent, I

have conducted and participated in numerous investigations concerning violations of federal firearm

laws, violations of federal controlled substance laws, and the commission of violent crimes. I have

received specialized training regarding, and have personally participated in, various types of

investigative activities, including: (a) physical surveillance; (b) the debriefing of defendants,

witnesses, informants, and other individuals who have knowledge concerning violations of federal

firearms and controlled substance laws; (c) undercover operations; (d) the execution of search

warrants; (e) the consensual monitoring and recording of conversations; (f) electronic surveillance

through the use of pen registers and trap and trace devices; (g) the court-authorized interception of

both wire and electronic communications (i .e., Title III wiretaps); and (h) the handling,

maintenance, and examination of evidence, including wireless telephones and computers.

       4.      As a Special Agent with the A TF, I am authorized to investigate violations of laws of

the United States and as a law enforcement officer with the authority to make arrests and execute

warrants issued under the authority of the United States.

                                                   2
             Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 3 of 22
                                                                                                DAL


        5.     The information contained in this affidavit comes from my personal observations,

my training and experience, and information obtained from other agents, police officers and

detectives, witnesses, and reports. Since this affidavit is being submitted for the limited purpose of

establishing probable cause for securing the search warrant, I have not included every fact known to

me concerning the investigation. Rather, I have set forth only those facts that I believe are

necessary to establish probable cause to believe that evidence, fruits, and instrumentalities of the

violation of 18 U.S.C. § 1951(a) (Robbery Affecting Commerce) will be found in the sought after

records and other information associated with the Instagram account.

                                 TECHINICAL BACKGROUND

       6.      Facebook owns and operates Instagram, which is a free access social networking

website that can be accessed at https://Instagram.com. Instagram allows users to establish accounts

with Instagram, and users can share photos, videos, and comments about the content posted to a

particular Instagram account. Users can also control who can view their account.

       7.      When an Instagram user creates an Instagram account, they can provide biographical

information and other personal information. This information may include the user's full name, birth

date, contact email addresses, physical address (including city, state, and zip code), telephone

numbers, screen names, websites, and other personal identifiers.

       8.      Instagram users can exchange private messages on Instagram with other users. These

messages, which are similar to e-mail messages, are sent to the recipient's "inbox" on Instagram.

Instagram stores copies of messages sent and received by an account holder. Instagram users can

attach photos or videos to the messages. Instagram will often store this media as well.

       9.      Instagram also retains Internet Protocol "IP" logs for a given user ID or IP addresses.

These logs may contain information about the user ID or IP address on Instagram, including

information about the type of action, date and time of the action, and the user ID and IP address

                                                   3
              Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 4 of 22
                                                                                                DAL


associated with the action. As a case in point, if a user views an Instagram account, that user's IP log

would reflect the fact that the user viewed the profile and the IP log would also show when and from

what IP address the user did so. The information regarding IP addresses is useful in the development

of further investigative leads. The IP address can tell investigators the type of internet service used,

whether that IP address was accessed through a mobile device or a router, and in the event the IP

address was accessed by a mobile device, subscriber information regarding a mobile device can be

obtained.

        10.      Put simply, information stored in connection with an Instagram account may provide

crucial evidence of the "who, what, why, where, when, and how" of the criminal conduct under

investigation.    In my training and experience, an Instagram user's IP log, stored electronic

communications, and other data retained by Instagram's servers can indicate who has used or

controlled an Instagram account. This user attribution evidence is similar to the search for evidence

that indicates occupancy of a residence subject to a search warrant. Instagram IP logs can provide

information of a user's physical location on a given date and time, which can, in tum, help

investigators understand the chronological and geographic context of a crime. Instagram allows users

to "geotag" their location in photographs and videos. This geographic and temporal information may

tend to either inculpate or exculpate a particular Instagram account holder. Lastly, Instagram account

activity may provide relevant insight into the account user's state of mind as it relates to the offense

under investigation. For example, postings on a particular account may indicate the user's motive

and intent to commit a crime, it may show the association between confederates in a conspiracy (e. g. ,

group photos), or consciousness of guilt (e.g., deleting account information in an effort to conceal

evidence from law enforcement). In this case, postings on a particular account could also show

evidence in the form of articles of clothing worn by robbers during the commissions of the robberies.



                                                   4
              Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 5 of 22
                                                                                                    DAL

        11.      There is reason to believe that Instagram is still in possession of records relating to the

account " llife_ 2finesse". First, an open-source internet search conducted on June 1, 2019, still shows

the account as viewable online.       Second, through Facebook' s online law enforcement portal, a

preservation request was sent to Instagram/Facebook, requesting that steps be taken to preserve

records and other evidence associated with the account. See 18 U.S.C. § 2703(f).

                                          PROBABLE CAUSE

       12.       Between May 25, 2018 and September 1, 2018, there were a total of 18 robberies

that occurred in Baltimore City, Baltimore County, and Anne Arundel County that share common

characteristics and are linked together by various pieces of evidence. The robberies occurred in

geographic and temporal clusters. Additionally, groupings of these robberies appear to have

involved similar looking weapons and clothing. There is also forensic evidence, in the form of

fingerprints, that link Stewart Williams and Kelvin McFadden to several robberies. Finally, there is

surveillance footage of many of these robberies.

       13.       The below chart lists the entire series of robberies.

              Date                         Business N arne                     Location
                                     Conrad's Crabs and              1720 E. Joppa Rd, Parkville,
       1 5/25/2018 9:33pm            Seafood Market                  MD 21234
                                                                     1725 Taylor Ave, Parkville,
       2 6110/2018 8:23pm           Pappas Liquor Store              MD 21234
                                                                     1830 York Rd, Lutherville-
       3 6/20/2018 9:04pm            Smoothie King ·                 Timonium, MD 21 093
                                                                     51 E. Padonia Rd,
                                                                     Lutherville-Timonium, MD
       4 6/20/2018 9:17Q_m          Padonia Liquors                  21093
                                                                     833 Taylor Ave, Towson,
       5 6/20/2018 I 0:10pm         Liquor Mart                      MD 21286
                                    Group of Individual              1700 Yakona Rd, Baltimore
       6 7/10/2018 11:00pm          Victims                          City, MD 21234
                                                                     8625 Walther Blvd,
       7 7111 /2018 9:55pm          Individual Victim                Baltimore City, MD 21236

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              Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 6 of 22
                                                                                                  DAL


                                                                 8625 Walther Blvd,
        8 711112018 9:57pm         Walther Liquors               Baltimore City, MD 21236
                                                                 7732 Harford Rd, Parkville,
        9 7118/2018 11 :07pm       Harford Beverage              MD 21234
                                                                 8039 Fort Smallwood,
       10 7/20/2018 6:14pm         C-Mart                        Riviera Beach, MD 21226
                                                                 8300 Veterans Highway,
       11    7/22/2018 1:31am      Wawa (attempted)              Millersville, MD 211 08
                                   8 Days A Week                 1700 Taylor Ave, Parkville,
       12 7/26/2018 5:50pm         Convenience Mart              MD 21234
                                   John ' s Liquor and General   812 Duvall Hwy, Pasadena,
       13    8/5/2018   9:25pm     Store                         MD 21122
                                                                 3301 E Joppa Rd, Parkville,
      14 8/18/2018 9:50pm          Quick Stop Food Mart          MD 21234
                                                                 3611 Washington Blvd,
      15     8/2112018 9:50pm      GameS top                     Halethorpe, MD 21227
                                                                 690 1 Security Blvd,
      16 8/25/2018 I 0:54pm        GameS top                     Baltimore City, MD 21207
                                                                 1004 Taylor Ave, Towson,
      17 8/28/2018 I 0:50pm        GameS top                     MD 21286
                                                                 6370 York Rd, Baltimore,
      18 9/01 /2018 I 0:35pm       GameS top                     MD 21212


       14.      On June 22, 2018, Michael Arnold was arrested in Anne Arundel County while

attempting to rob a Wawa (07/22/2018).

       15.      After Arnold' s arrest, based on Arnold's physical appearance and other evidence,

investigators identified multiple robberies of convenience and liquor stores that they believed

Arnold and other co-conspirators were responsible for or involved with.

       16.      Arnold has been charged in Anne Arundel County with the C-Mart robbery

(7 /20/20 18) and the Wawa attempted robbery (7 /22/20 18). Your affiant understands that Arnold

has reached a plea agreement with the state prosecutor for those crimes.

       17.      After being originally charged by the State of Maryland, on May 30, 2019, a Federal


                                                  6
             Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 7 of 22
                                                                                             DAL


Grand Jury indicted Stewart Williams and Kelvin McFadden with three counts of violating

18 U.S.C. § 1951(a), two substantive counts and a conspiracy count. (JKB-19-0271).

       18.     On September 1, 2018, Stewart Williams and Kelvin McFadden were arrested in

Baltimore City after leading police on a high speed chase following the robbery of a GameStop.

That robbery involved the taking of U.S. currency and video game systems. Police were able to

track the location ofthe car using a "cash tracker" that was taken by the robbers amongst cash

stolen during the GameStop robbery. Police obtained a search warrant for the car, which they also

learned was registered to McFadden. During that search, police recovered numerous pieces of

evidence, including the cash tracker, a black BB/replica gun matching the gun used by robbers

during the four GameStop robberies, numerous game systems, two hats that matched hats worn by

the robbers who had just commited the 911 /2018 GameStop robbery, and two cell phones. One of

the matching hats recovered from the car was a blue hat with a white star. The other hat was a San

Antonio Spurs hat. Images of both are below.




                                                 7
             Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 8 of 22
                                                                                            DAL




       19.     A photograph of the rear portion of the dark-colored Honda Accord that was

registered to Kelvin McFadden and searched pursuant to the warrant is below.




       20.     After the arrest of Williams and McFadden, investigators executed a search warrant

                                                8
             Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 9 of 22
                                                                                                 DAL


for the location to which the pair had fled, an apartment located on 922 N. Stricker Street in

Baltimore. Among other items, investigators recovered a burgundy or maroon shirt that was found

in a trashcan within the apartment. That shirt matched one worn by one of the robbers during the

9/1 /2018 GameStop robbery. A photograph is included below.




       21.       After the arrest of Williams and McFadden, based on their physical appearance and

other evidence, investigators identified multiple robberies of stores, convenience stores and liquor

stores that they believe Williams and McFadden and certain co-conspirators were responsible for or

involved with.

       22.        For example, investigators reviewed surveillance footage of the robberies of all four

GameS tops, each of which involved two black males entering and robbing the stores. The

appearance of those two robbers was consistent with Stewart Williams and Kelvin McFadden for

each GameStop robbery. Still images from surveillance footage captured the robbers as they left

the GameS top stores after completing the robberies. Still images of the robbers from the 8/28/2018

and 911 /2018 GameStop robberies captured photos ofthe two different robbers wearing what

appears to be the same hat during the two different robberies, a blue hat with a white star. A still

                                                   9
          Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 10 of 22
                                                                                            ·   DAL


image from the 9/1 /2018 robbery shows one ofthe robbers, who is wearing a blue hat with a white

star, wearing a shirt that matches the one recovered ripped up inside a trash can at 922 N. Stricker

Street. Additionally, the San Antonio Spurs hat that was recovered also matches one worn by the

two different robbers on different days of GameStop robberies. Some example images are below.




             GameStop 8/21/2018 Washington Boulevard, Halethorpe, MD 21227




                                                 10
Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 11 of 22
                                                                 DAL




     GameStop 8/28/2018 1004 Taylor Avenue, Towson, MD 21286




         GameStop 9/1/2018 6370 York Road, Baltimore MD
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             Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 12 of 22
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                         GameStop 9/1/2018 6370 York Road, Baltimore MD

       23.        Additionally, relying on the serial number located on a receipt from a pawn store,

investigators were able to determine that one of the game consoles stolen from the 08/28/2018

GameStop robbery was sold to a pawn shop by Kaela McFadden, Kelvin McFadden's sister.

       24.        Based on records recovered from Sony, investigators were able to determine that the

same game console pawned by Kaela McFadden was linked with a Sony Account associated with

the online ID "KeezDaCapo." The KeezDaCapo account was created on 8/28/2018 and includes

the listed name of Kelvin McFadden and the listed phone number of 443-890-7949. Subscriber

information records from TracFone for the phone number 443-890-7949 list Kelvin McFadden as

the subscriber.

       25.        Investigators recovered a phone from Arnold's person after he was arrested for the

attempted robbery ofthe Wawa on 7/22/2018. As mentioned above, two phones were recovered

during a search warrant execution of McFadden ' s car after Williams and McFadden were arrested



                                                    12
              Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 13 of 22
                                                                                                DAL


for the robbery ofthe GameStop on 911 /2018. 1

        26.      Investigators confirmed that the phone recovered from Arnold, was in fact used by

Arnold and belonged to him and was associated with 410-585-7592 by executing a search warrant

on the phone.2

       27.       On February 12, 2019, The Honorable J. Mark Coulson, United States Magistrate

Judge for the District of Maryland, signed a warrant authorizing the search three cell phones

associated with Stewart Williams, Kelvin McFadden, and Michael Arnold, respectively, among

other searches. See Misc. No. 19-0559-JMC.

       28 .      After a search of the phone associated with Kelvin McFadden, I discovered pictures

on the device of Kelvin McFadden, further leading me to believe that the device did in fact belong

to Kelvin McFadden. Furthermore, the phone' s extraction report lists 443-890-7949 as associated

with the SIM card within the telephone.

       29.       A further search ofthis phone recovered the following picture of Kelvin McFadden,

in a blue hat with a white star, associated with the "llife_2finesse" Instagram account.




1
  Investigators obtained a state search warrant the search of the 2003 Honda Accord that was
registered to McFadden and was involved in the high-speed chase following the final Gamestop
robbery (9/ 1120 18). That search warrant also authorized state investigators to search for "Any and
all cell phones" within the car and permitted them to undertake the "search and recovery,
(download), of all data from within". For the purposes of this affidavit, federal investigators are not
relying on any information or evidence obtained from the state download of the phones associated
with Stewart Williams or Kelvin McFadden. I previously sought, and received, a federal search
warrant for all three phones associated, respectively, with Stewart Williams, Kelvin McFadden, and
Michael Arnold. 19-0559-JMC.
2
  State investigators obtained a warrant to search Arnold's phone and seize relevant evidence, fruits,
and instrumentalities related to the robberies. While the state search of that phone yielded
information that is helpful to this investigation, I also sought and received a federal search warrant
for the phone. 19-0559-JMC.
                                                     13
             Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 14 of 22
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       30.      A subsequent open-source internet search located the following Instagrarn account

for " llife_2finesse". The photo associated with the account appears to depict Kelvin McFadden

sitting on a dark-colored Honda, and the numbers "UXT 800" are visible on the Virginia license

plate. As depicted above, the license plate on McFadden' s car on the day that police searched it

was Virginia "UXT 8003 ".



                                                   11ife 2finesse
                                                   1,106 posts                  977 fol lowers                   1,071 fo llowing

                                                   "CONSISTENCY" 122 6
                                                   " my soul is weary with sorrow ; strengt hen me according t o your word . .                                   "u»
                                                   #longlivemylorbigbrovaBOODA ••• ~~



       31.      Accordingly, there is probable cause to believe that the " llife_2finesse" account

belongs to or is associated with Kelvin McFadden.




                                                                                          14
              Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 15 of 22
                                                                                                 DAL


                                            CONCLUSION

        32.      Based on the above, I respectfully submit that there is probable cause to believe that

Williams, McFadden, and Arnold have violated Title 18 U.S.C. § 1951(a) (Affecting Interstate

Commerce by Robbery), and that there is probable cause to believe that evidence of these crimes,

including potential photographs, communications, or information that links Kelvin McFadden,

Stewart Williams, and/or Michael Arnold together or with other co-conspirators will be recovered

from the information and records sought.

        33.      I respectfully request that the Court issue the proposed search warrant, pursuant to 18

U.S.C. § 2703(c) and Federal Rule of Criminal Procedure 41.

       34.       I respectfully request that the Court issue a search warrant to search the account

listed in Attachment A and seize evidence, records, and items described in Attachment B.

       35.      Because the warrant will be served on Instagram who will then compile the

Information at a time convenient to them and because the warrant does not involve entry on to

physical premises, reasonable cause exists to permit the execution ofthe requested warrants at any

time in the day or night.

       36.      Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.




                                                   15
       Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 16 of 22
                                                                        DAL




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THE HONORABLE STEPHANIE A. GALLAGHER
UNITED STATES MAGISTRATE JUDGE




                                    16
         Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 17 of 22
                                                                                         DAL




                       ATTACHMENT A TO SEARCH WARRANT

                                  Property to Be Searched

           a. Instagram user "llife_2finesse", located at

              https://www.instagram.com/llife 2finesse/, and having been used by or

              associated with Kelvin McFadden.

that is stored at premises owned, maintained, controlled, or operated by Instagram, a company

headquartered at 151 University Avenue, Palo Alto, California, 94301.




                                              17
        Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 18 of 22

                                                                                                 DAL


                        ATTACHMENT B TO SEARCH WARRANT

                                 Particular Things to be Seized
       To the extent that information described in Attachment A is within the possession, custody,
or control of Instagram, Instagram is required to disclose the following information, dating back
from January 1, 2018 through the present, to the government for:
           a. Instagram user "llife_2finesse", located at

               https://www.instagram.com/11ife 2finesse/, and having been used by or

               associated with Kelvin McFadden.

in any form, in the possession of Instagram, headquartered at 151 University Avenue, Palo Alto,
California, 94301, which pertain to Instagram user "llife_2finesse", including but not limited
to:
           a. Account contact information (including subscriber's full name, birth date, address,
              telephone numbers, contact e-mail addresses, screen names/profiles, websites,
               account/user identification numbers, status of account, duration of account, method
               of payment, and other personal identifiers).
           b. All records pertaining to communications between Instagram and any person
              regarding the user or user' s Instagram account (including terms of service, contacts
              with support services and records of actions taken.
           c. The length of service (including start date), the types of service utilized by the user,
              and the means and source of any payments associated with the service including
              any credit card or bank account number).
           d. All connection logs and other records of user activity for the account (method of
              connection, data transfer volume, the subscriber account associated with the
              connection, telephone caller identification or ANI records, and other connection
              information, such as the Internet Protocol (IP) address of the source of the
              connection). All IP logs, including all records of the IP addresses that logged into
              the account.
          e. All Photoprints, including photos uploaded by that user ID and all photos uploaded
              by any user that have that user tagged in them.



                                                 18
         Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 19 of 22
                                                                                                 DAL


           f.   All Neoprints, including profile contact information; Mini-Feed information; status
                updates, links to videos, photographs, articles, and other items; Notes; Wall
                postings; friend lists, including the friends ' Instagram user identification numbers;
                groups and networks of which the user is a member, including the groups '
                instagram group identification numbers; future and past event postings; rejected or
                pending "Friend" requests; comments, gifts; pokes; tags; and information about the
                user' s access and use of Instagram applications.
           g. All information about the user' s access and use of Instagram Marketplace.
           h. All privacy settings and other account settings.
           1.   All other communications and messages made or received by the user, including
                all private messages and the existence and content of all e-mail sent from, sent to,
                or received by, delivered or undelivered (read or unread).
           J.   File transfer data uploaded or downloaded by the user.
           k. Any information used by the user for web pages or web sites.
           1.   Logs maintained for any names on the "Friend list" described above, and for the
                senders and recipients of the e-mail described above, for any such names, senders
                and recipients who are subscribers of customers of Instagram.
           m. All exchangeable Image File Format (EXIF) data.
           n. All stored communication, both retrieved and unretrieved, and other files controlled
                by user accounts owned by:
                    1.   Instagram user "llife_ 2finesse", located at
                         https://www.instagram.com/1life 2finesse/, and having been used by or
                         associated with Kelvin McFadden.


II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities ofviolations offederallaw, including 18 U.S.C. § 1951(a) by Stewart Williams,

Kelvin McFadden, Michael Arnold, and any known or unknown confederates, co-conspirators, or

accomplices, including, information pertaining to the following matters:



                                                 19
         Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 20 of 22
                                                                                                  DAL



               (a)     Evidence of the clothing worn during the commission of the offenses;

photographs of any items or objects used during the commission of the offenses, including real or

replica firearms, vehicles, bags, etc.; photographs depicting any confederates, co-conspirators, or

accomplices in the suspected conspiracy; comments and captions describing the commission of

the robberies, the theft of items and currency, or the sale of criminally obtained proceeds from the

robberies; photographs of United States currency; photographs of stolen merchandise, including

game systems; messages between co-conspirators preparing to cormnit the crimes or conversations

after the crime has occurred;

               (b)     Evidence indicating how and when the Instagram account was accessed or

used, to determine the chronological and geographic context of account access, use, and events

relating to the crime under investigation and to the Instagram account owner;

               (c)     Evidence indicating the Instagram account owner' s state of mind as it

relates to the crime under investigation;

               (d)     The identity of the person(s) who created or used the user ID, including

records that help reveal the whereabouts of such person(s);

               (e)     The identity of the person(s) who communicated with the user ID about

matters related to committing robberies or a conspiracy to commit robberies, or membership in

groups that promote and/or perpetrate such activity, including records about their identities and

whereabouts; and

               (f)     Registration data to include the original IP address that was used to create

the Target Account; any physical addresses associated with the account; any phone numbers

associated with the account; information concerning or identifying the devices used to access the

acocount. Interests listed and any other user data created at the time the account was created.



                                                20
         Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 21 of 22
                                                                                                DAL



III.   The government's search

       With respect to the search of the information provided pursuant to this warrant by the

above-referenced provider, law enforcement personnel will make reasonable efforts to use

methods and procedures that will locate and expose those categories of files, documents,

communications, or other electronically-stored information that are identified with particularity

in the warrant while minimizing the review of information not within the list of items to be

seized as set forth herein, to the extent reasonably practicable.




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           Case 1:19-mj-01960-SAG Document 3 Filed 06/18/19 Page 22 of 22
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            CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS
           RECORDS PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11)

        I, _ _ __ _ __ _ _ _ _ _ _ _ _ , attest, under penalties of perjury under the

laws of the United States of America pursuant to 28 U.S. C. § 1746, that the information contained

in this declaration is true and correct. I am employed by Instagram, Inc. (hereinafter "Instagram),

and my official title is _ _ _ _ _ _ _ _ _ _ _ _ _ . I am a custodian of records for

Instagram. I state that each of the records attached hereto is the original record or a true duplicate

of the original record in the custody of Instagram, and that I am the custodian of the attached

records consisting of _ ____ (pages/CDs/kilobytes). I further state that:

a.      all records attached to this certificate were made at or near the time of the occurrence of

the matter set forth, by, or from information transmitted by, a person with knowledge of those

matters;

b.      such records were kept in the ordinary course of a regularly conducted business activity of

Instagram; and

c.      such records were made by Instagram as a regular practice.

        I further state that this certification is intended to satisfy Rule 902(11) of the Federal Rules

of Evidence.




 Date                                  Signature




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